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MIN:

NOTE

THIS LOAN IS NOT ASSUMABLE
WITHOUT THE APPROVAL OF THE
DEPARTMENT OF VETERANS AFFAIRS
OR ITS AUTHORIZED AGENT.

AUGUST 19, 2016 Freeport FLORIDA
[Date] [City] [State]

6 74 WATERVIEW CO'V`E DR , FREEPORT _, FLORIDA 3 24 3 9 - 2 85 l
[Property Address]

1 . BORROWER'S PROM|SE TO PAY

ln return for a loan that l have received, l promise to pay U.S. $25 8 , 2 5 0 . 0 0 (this amount is
called "Principal"), plus interest, to the order of the Lender. The Lender is AFFINITY MORTGAGE
LLC, A K.ANSAS LIMITED LIABILITY COMPANY

l will make all payments under this Note in the form of cash, check or money order.

l understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and
who is entitled to receive payments under this Note is called the "Note l-lo|der."

2. lNTEREST

lnterest will be charged on unpaid principal until the full amount of Principal has been paid. l will pay interest
ata yearly rate Of 3 . 500 %.

T'he interest rate required by this Section 2 is the rate l will pay both before and after any default described in
Section 6(B) of this Note.

3. PAYM ENTS

(A) Time and Place of Payments

l will pay principal and interest by making a payment every month_

l will make my monthly payment on the 1515 day of each month beginning on OCTOBER l ,
2 0 l6 . l will make these payments every month until l have paid all of the principal and interest and any other
charges described below that l may owe under this Note_ Each monthly payment will be applied as of its scheduled
due date and will be applied to interest before Principal. If, on SEP'I'EMBER l , 2046 , l still owe
amounts under this Note, l will pay those amounts in full on that date, which is called the "Maturity Date."

l will make my monthly payments at 8725 ROSEHILL, 109 , LENEXA , KANSAS
6 6 2 l 5

or at a different place if required by the Note l-lolder.
{B) Amount of Monthly Payments
My monthly payment will be in the amount of U.S. $ 1, 159 . 66

 

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4. BORROWER'S RIGHT TO PREPA¥

I have the right to make payments of Principal at any time before they are due. A payment of Principal only
is known as a "Prepayment." When l make a Prepayment, l will tell the Note Holder in writing that l am doing so_
l may not designate a payment as a Prepayment if l have not made all the monthly payments due under the Note.

l may make a full Prepayment or partial Prepayments without paying a Prepayment chargel The Note Holder
will use my Prepayments to reduce the amount of Principal that l owe under this Note. However, the Note Holder
may apply my Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying my
Prepayment to reduce the Principal amount of the Note_ If l make a partial Prepayment, there will be no changes in
the due date or in the amount of my monthly payment unless the Note Holder agrees in writing to those changes

5. LOAN CHARGES

lf a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with this loan exceed the permitted limits,
then; (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit;
and (b) any sums already collected from me which exceeded permitted limits will be refunded to me. The Note
Holder may choose to make this refund by reducing the Principal l owe under this Note or by making a direct payment
to me. if a refund reduces Principal, the reduction will be treated as a partial Prepayment

6. BORROWER'S FAILURE TO PAY AS REQU|RED
(A) Late Chargc for Overdue Payments
If the Note Holder has not received the full amount of any monthly payment by the end of 15
calendar days after the date it is due, l will pay a late charge to the Note Holder. \The amount of the charge will be
4 . 0 0 0 % of my overdue payment of principal, interest, and escrow for taxes and insurance l will pay
this late charge promptly but only once on each late payment
(B) Default
Ifl do not pay the full amount of each monthly payment on the date it is due, l will be in defaultl
(C) Notice of Default
lf l am in default, the Note Holder may send me a written notice telling me that if l do not pay the overdue
amount by a certain date, the Note Holder may require me to pay immediately the full amount of Principal which has
not been paid and all the interest that l owe on that amount That date must be at least 30 days after the date on which
the notice is mailed to me or delivered by other means
([)) No Waiver By Note Holder
Even if, at a time when l am in default, the Note Holder does not require me to pay immediately in full as
described abovej the Note Holder will still have the right to do so if l am in default at a later time.
(E) Payment of Note Holder's Costs and Expenses l
lf the Note Holder has required me to pay immediately in full as described above, the Note Holder will have l
the right to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by
applicable law. Those expenses include, for example, reasonable attorneys' fees.

7. GlVlNG OF NOT|CES i
Unless applicable law requires a different method, any notice that must be given to me under this Note will be i
given by delivering it or by mailing it by first class mail to me at the Property Address above or at a different address i
if I give the Note Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing
it by first class mail to the Note Holder at the address stated in Section 3(A) above or at a different address if I am l
given a notice of that different addressl l

 

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8. OBLlGATlONS OF PERSONS UNDER TH|S NOTE

if more than one person signs this Note, each person is fully and personally obligated to keep all of the promises
made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or
endorser of this Note is also obligated to do these things. Any person who takes over these obligations, including
the obligations of a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made in
this Note. The Note Holder may enforce its rights under this Note against each person individually or against all of
us together_ This means that any one of us may be required to pay all ofthe amounts owed under this Note.

9. WAIVERS

l and any other person who has obligations under this Note waive the rights of Presentment and Notice of
Dishonor. "Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice
cf Dishonor" means the right to require the Note Holder to give notice to other persons that amounts due have not
been paid.

10. UNlFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions ln addition to the protections
given to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security lnstrument"),
dated the same date as this Note, protects the Note Holder from possible losses which might result if l do not keep
the promises which l make in this Note. That Security Instrument describes how and under what conditions l may
be required to make immediate payment in full of all amounts l owe under this Note. Some of those conditions are
described as follows:

Transfer of the Propcrty; Acceleration; Assumption. This loan may be declared immediately
due and payable upon transfer of the property securing such loan to any transferee, unless the
acceptability of the assumption of the loan is established pursuant to Section 3714 of Chapter 37,
Title 38, United Statcs Code. The acceptability of any assumption shall also be subject to the
following additional provisions:

(a) Funding Fee: A fee equal to one-half of l percent of the balance of this loan

as of the date of transfer of the property shall be payable at the time of transfer to the

loan holder or its authorized agent, as trustee for the Department of Veterans Affairs. If

the assumer fails to pay this fee at the time of transfer, the fee shall constitute an

additional debt to that already secured by this instrument, shall bear interest at the rate

herein provided, and at the option of the payee of the indebtedness hereby secured or any
transferee thereof, shall be immediately due and payable. This fee is automatically waived

if the assumer is exempt under the provisions of 38 U.S.C. 3729(¢).

(b) Processing Charge: Upon application for approval to allow assumption of this

loan, a processing fee may be charged by the loan holder or its authorized agent for

determining the creditworthiness of the assumer and subsequently revising the holder's

ownership records when an approved transfer is completed. The amount of this charge

shall not exceed the maximum established by the Department of Veterans Affairs for a

loan to which Section 3714 of Chapter 37, Title 38, United States Code applies.

(c) lndemnity Liability Assumption: lf this obligation is assumed, then the
assumer hereby agrees to assume all of the obligations of the veteran under the terms of

the instruments creating and securing the loan. The assumer further agrees to indemnify

the Department of Veterans Affairs to the extent of any claim payment arising from the

guaranty or insurance of the indebtedness created by this instrument

lfthe acceptability of the assumption of this loan is not established for any reason, and Lender
exercises its option to declare all sums secured by this Security Instrument immediately due and
payable, Lender shall give Borrower notice of acceleration. The notice shall provide a period of not
less than 30 days from the date the notice is given in accordance with Section 14 within which

 

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Borrower must pay all sums secured by this Security lnstrument. lf Borrower fails to pay these sums
prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further notice or demand on Borrower.

1 1. DOCUM ENTARY TAX

The state documentary tax due on this Note has been paid on the mortgage securing this indebtedness
NOT|CE TO BORROWER

Department of Veterans Affairs regulations at 38 C.F. R. 36.4337 provide as follows:

"Regulations issued under 38 U.S.C. Chapter 37 and in effect on the date of any loan which is

submitted and accepted or approved for a guaranty or for insurance thereunder, shall govern the

rights, duties, and liabilities of the parties to such loan and any provisions of the loan instruments

inconsistent with such regulations are hereby amended and supplemented to conform thereto."

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(Seal) (Seal)

-Borrower -Borrower

(S@al) (seai)

-Borrower ~Borrower

Loan Originator: Andrew Congrove, NMLSR ID 269240
Loan Orlglnator Organization: AFFINITY MORTGAGE LLC, NMLSR ID

 

 

 

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PAY TO THE ORDER OF
Flagstar Bank, FSB
WlTHOUT RECOURSE ` '
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Warehuusc Note Pmc$sor, Altorney in Faz‘.l
Urlder Special Limited Irrevocable Power DfAttom¢y
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N|OD|F|ED |NSTRU|V|ENT FOR DEPAFZTMENT OF VETERANS AFFAIRE
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Rec Fees: 8137.50 Doc .Stmp-M: $904'.05 Int Tax: $516.50 Deputy Clerk KELLEY

This Instrument Prepared By;

Paula Luce
8725 ROSEHILL
LENEXA KS 66215

Aher Recording Return To.'

AFF'INITY MORTGAGE LLC

872 5 ROSEHILL, 109
LENEXA, KANSAS 66215

Loan Number: 504570295
Case Number: 171761782783

 

 

 

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M ORTGAGE

THIS LOAN IS NOT ASSUMABLE
WITHOUT THE APPROVAL OF THE
DEPARTMENT OF VETERANS AFFAIRS
OR ITS AUTHORIZED AGENT .

Mth MERS Phone: 888-679-6377
DEHMUONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3, lO,
12. li7, 19 and 20. Certain rules regarding the usage of words used in this document are also provided in Sect`ion 15.

(A} "Security Instrument" means this document which is dated AUGUST 19 , 2 016 . together

with all Riders to this document
(B) "Borrower" is JOHN S SEIBER.-T AND ALICE SEIBERT, HUSBAND AND WIFE

AKA JOHN STEWART SEIBERT AND ALICE LEIGH SEIBERT

Borrower is the mortgagor under this Security Instrument

(C) "MERS" is Mortgage Electronic Reg`istration Systems, Inc. MERS is a separate corporation that is acting
solely as a nominee for Lender and Lender' s successors and assigns MERS is the mortgagee under this Security
Instrument MERS is organized and existing under the laws of Delaware, and has an address and telephone number
of P. O. Box 2026, Flint, Ml 48501-2026, tel. (888) 679-MERS

{D) "Lender" is AFFINI TY MORTGAGE LLC

 

FLORtDA- Sin le Fami| -UNIFORM INSTRUMENT Mq,=m
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Lender is a KANSAS LIMITED LIABILITY COMPAN¥ organized
and existing under the laws of KANSAS .
Lender' s address is 8 72 5 ROSEHI LL , 10 9 , LENEXA , K.ANSAS 6 6 2 15

(E) "Note" means the promissory note signed by Borrower and dated AUGUST 1 9 , 2 0 16

The Note states that Borrower owes Lender TWO HUNDRED FIFTY-EIGHT THOUSAND TWO
HUNDRED FIFTY AND 00/100 Dollars(U.S.$ 258,250.00 )
plus interest. Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full not
later than SEPTEMBER 1 , 2 04»6 .

(F) "Property" means the property that is described below under the heading "Transfer of Rjghts in the Property. "
(G) "Loan" means the debt evidenced by the Note, plus interest, anyl prepayment charges and late charges due under
the Note, and all sums due under this Security lnstrument, plus interest.

(H) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following Riders are
to be executed by Borrower [check box as applicable]:

[:] Adjustable Rate Rider \:| Planned Unit Development Rider
|:| Balloon Rider \:| Biweekly Payment Rider

[:] 1-4 Family Rider \:[ Seoond Home Rider

[:] Condominitun Rider \:| Other(s) [specify]

(I_) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
oplruons.

(J) "Community Association Dues, Fees, and Assessmeots" means all dues, fees, assessments and other charges
that are imposed on Borrower or the Property by a condominium association, homeowners association or similar
organization

(K) "Electronic Funds Traosfer" means any transfer of funds, other than a transaction originated by check, draft,
or similar paper instrument, which 1s initiated through an electronic terminal, telephonic instrument, oomputer, or
magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an acoount. Such term
includes, but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by
telephone, wire transfers, and automated clearinghouse transfers

(L) "Escrow ltems" means those items that are described in Section 3.

(M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any
third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or
destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in
lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.
(N) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note,
plus (ii) any amounts under Section 3 of this Security Instrument.

(O) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its implementing
regulation, Regulation X (12 C. F. R. Pan 1024), as they might be amended from time to time, or any additional or
successor legislation or regulation that governs the same subject matter. As used in this Security instrument,

 

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"RESPA" refers to-all requirements and restrictions‘that are-imposed in regard to a " federally related mortgage loan"
even if the Loan does not qualify as a " federally related mortgage ioan" under RESPA.

(P) "Successor in lnterest of Borrower" means any party that has taken title to the Property, whether or not that
party has assumed Borrower' s obligations under the Note andlf or this Security Instrument

TRANSFER OF RIGHTS lN THE PROPERTY

'[his Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this Security
Instrument and the Note. For this _purpose, Borrower does hereby mortgage, grant and convey to MERS (solely as
nominee for Lender and Lender‘s successors and assigns) and to the successors and assigns of MERS, the following
described property located in the
COU'NTY of WALTON
[Type of Recording Jurisdiction] [Name of Recording Jurisdiction]

LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PAR'I' HER.EOF
A.P.N.: 18181923002000A027`0

which currently has the address of 6 '7 4 WATERVI EW COV`E DR
[Street]
FREEPORT , Florida 3 2 4 3 9 - 2 8 5 l ("Property Address"):
[City] [Z.ip Code]

TOGETHER WlTl-I all the improvements now or hereafter erected on the property, and all easements,
appurtenances, and fixtures now or hereafter a part of the property, All replacements and additions shall also be
covered by this Security Instrument. All ofthe foregoing is referred to in this Security Instrument as the "Property,"
Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower in this Security
Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender' s successors
and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the right to foreclose
and sell the Property; and to take any action required of Lender including, but not limited to, releasing and canceling
this Security lnstrument.

BORROWER COVENAN"[S that Borrower is lawfully seised of the estate hereby conveyed and has the right
to mortgage, grant and convey the Property and that the Property is unencumbered, except for encumbrances of
record. Borrower warrants and will defend generally the title to the Property against all claims and demands, subject
to any encumbrances of record.

 

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THIS SECURITY lNSTRUMENT combines uniform covenants for national use and non-uniform covenants with
limited variations by jurisdiction to constitute a uniform security instrument covering real property.

UN|FORM COVENANTS. Borrower and Lender covenant and agree as follows:

l. Payment ofPrint:ipal1 Interest, Escrow ltems, Prepayment Charges, and Late Cltarges. Borrower shall
pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late
charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due
under the Note and this Security Instrument shall be made in U.S. currency. However, if any check or other
insu'mnent received by Lender as payment under the Note or this Security Instrument is returned to Lender unpaid,
Lender may require that'any or all subsequent payments due under the Note and this Security Instrument be made in
one or more of the following forms, as selected by Lender: (a) cash; (b) money crder; (c) certified check, bank check,
treasurer' s check or cashier' s check, provided any such check' ls drawn upon an institution whose deposits are insured
by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated m the Note or at such other
location as may be designated by Lender in accordance with the notice provisions in Section 14. Lender may return
any payment or partial payment if the payment or partial payments are insufficient to bring the Loan current Lender
may accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights
hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
obligated to apply such payments at the time such payments are accepted lf each Periodic Payment is applied as of
its scheduled due date, then Lender need not pay interest on unapplied ftmd`s. Lender may hold such unapplied funds
until Borrower makes payment to bring the Loan current. If Borrower does not do so within a reasonable period of
time, Lender shall either apply such funds or return them to Borrower. lf not applied earlier, such funds will be
applied to the outstanding principal balance under the Note immediately prior to foreclosure No offset or claim
which Borrower might have now or in the future against Lender shall relieve Borrower from making payments due
under the Note and this Security Instrument or performing the covenants and agreements secured by this Security
Instrtunent.

2. Applicatioo of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note;
(b) principal due under the Note; (c) amounts due under Section 3. Such payments shall beapplied to each Periodic
Payment in the order in which it became due. Any remaining amounts shall be applied first to late charges, second
to any other amounts due under this Security lnstrument, and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late charge due, the payment may be applied to the delinquent payment and the late charge If
more than one Periodic Payment is outstanding Lender may apply any payment received from Borrower to the
repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that
any excess exists after the payment is applied to the full payment of one or more Periodic Payments, such excess may
be-applied to any late charges due, Voluntary prepayments shall be applied first to any prepayment charges and then
as described in the Note.

Any application of'payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Fuods for Escrow ltems. Borrower shall pay to Lender on the day Periodic Payments are due under the
Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and
assessments and other items which can attain priority over this Security Instrument as alien or encumbrance on the
Property; (b) leasehold payments or ground rents on the Property, if any; and (c) premiums for any and all insurance

 

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required by Lender under Section 5. These items are called "Escrow Items. " At origination or at any time during the
term ofthe Loan, Lender may require that Community Association Dues, Fees, and Assessments, if any, be escrowed
by Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower shall promptly furnish to
Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds for Escrow ltems
unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow ]tems. Lender may waive
Borrower' s obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only
be in writing In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts due
for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires, shall fi.u'nish
to Lender receipts evidencing such payment within such time period as Lender may require. Borrower' s obligation
to make such payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement
contained in this Security instrument, as the phrase " covenant and agreement" is used in Section 9. lf Borrower is
obligated to pay Escrow items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow
ltem», Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be obligated under
Section 9 to repay to Lender any such arnount. Lender may revoke the waiver as to any or all Escrow Items at any
time by a notice given in accordance with Section 14 and, upon such revocation, Borrower shall pay to Lender all
Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an'amount (a) sufficient to permit Lender to apply the Funds
at the time specified under RESPA1 and (b) not to exceed the maximinn amount a lender can require under RESPA.
Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures
of future Escrow Items or otherwise in accordance with Applicable Law.

'Ihe Funds shall be held in an institution whose deposits are insured by a federal agency, msn'umentality, or
entity (including Lender, if Lender is an institution whose deposits are so insured) or in any F ederal Home Loan
Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time.specified under RESPA. Lender
shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying
the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable‘ Law permits Lender to make
such a charge Uniess an agreement is made in writing or Applicable Law requires interest to be paid on the Funds,
Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an
annual accounting of the Funds as required by RESPA.

If there is a- surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for
the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA,
Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the arnountnecessary to make
up the shortage in accordance with RESPA, but in no more than 12 monthly payments lf there is a deficiency of
Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower
shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than
12 monthly payments

Upon payment in full of all sums secured by this Security lnstrument, Lender shall promptly refund to Borrower
any Funds held'by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to
the Property which can attain priority over this Security lnsu'ument, leasehold payments or ground rents on the
Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the extent that these items
are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower:
(a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only

 

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so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against
enforcement of the lien in, legal proceedings which in Lender' s opinion operate to prevent the enforcement of the lien
while those proceedings are pending, but only until such proceedings are concluded; or (c) secures ii'om the holder
of the lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument. lf Lender
determines that any part of the Property is subject to a lien which can attain priority over this Security lnstrument,
Lender may give Borrower a notice identifying the lien. Within 10 days of the date on which that notice is given,
Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service
used by Lender in connection with this Loan.

5. Property Insuraoce. Borrower shall keep the improvements now existing or herealier erected on the
Property insured against loss by fire, hazards included within the term "extended coverage, " and any other hazards
including, but not limited to, earthquakes and floods, for which Lender requires insurance This insurance shall be
maintained in the amounts (including deductible levels) and for the periods that Lender requires. What Lender
requires pursuant to the preceding:sentences can change during the tenn-ofthe.Loan. The insurance-carrier providing
the insurance shall be chosen by Borrower subject to Lender' s right to disapprove Borrower' s choice, which right shall
not be exercised unreasonably Lender may require Borrower'to pay, in connection with this Loan, either: (a) a one-
time charge for flood zone determination, certification and tracking services; or (b) a one-time charge for flood zone
determination and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification Borrower shall also be responsible for the payment of
any fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
determination resulting from an objection by Borrower.

lf Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at
Lender' s option and Borrower' s expense Lender is under no obligation to purchase any particular type or amount
of coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower' s
equity in the Property, or the contents of the Property, against any risk, hazard or liability and might provide greater
or lesser coverage than was previously in efi`ect. Borrower acknowledges that the cost of the insurance coverage so
obtained might signiEcantly exceed the cost of insurance that Borrower could have-obtainedl Any amounts disbursed
by Lender under this Section 5 shall become additional debt of Borrower secured by this Security Instrument. These
amounts shall bear interest at the Note rate li'om the date of disbursement and shall be payable, with such interest,
upon notice from Lender to Borrower requesting payment

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to
disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an
additional loss payee. Lender shall have the right to hold the policies and renewal certificates If Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. lf Borrower obtains any
form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
policy shall include a stande mortgage clause and shall name Lender as mortgagee and/ or as an additional loss payee

ln the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make
proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any
insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration
or repair of the Property, if the restoration or repair is economically feasible and Lender' s security is not Iessened.
During such repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender
has had an opportl.mity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and
restoration in a single payment or in a series of progress payments as the work is completed Unless an agreement

 

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is made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be
required to pay Borrower any interest or earnings onsuch proceeds Fees for public adjusters, or other third parties,
retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower.
If the restoration or repair is not economically feasible or Lender' s security would be lessened, the insurance proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid
to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.

lf Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
related matters. lf Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has
offered to settle a claim, then Lender may negotiate and settle the claim, The 30-day period will begin when the
notice is given. In either event, or if Lender acquires the Property under Section 21 or otherwise, Borrower hereby
assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
under the Note or this Security lnstrument, and (b) any other of Borrower' s rights (other than the right to any reii.md
of unearned premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights
are applicable to the'coverage of the Property. Lender may use the insurance proceeds either to repair or restore the
Property or to pay amounts unpaid under the Note or this Security lnstrument, whether or not then due.

6. Occupaocy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence
within 60 days-after the execution of this Security Instrument and shall continue to occupy the Property as Borrower' s
principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which
consent shall not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower' s
control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy,
damage or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not
Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from
deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that repair or
restoration is not economically feasible, Borrower shall promptly repair the Property if damaged to avoid further
deterioration or damage If insurance or condemnation proceeds are paid in connection with damage to, or the taking
of, the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has released
proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a.single payment or in
a series of` progress payments as the work is completed lf the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower' s obligation for the completion of such repair
or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause,
Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time
of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower' s knowledge or consent gave
materially false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender with
material information) in connection with the Loan. Material representations include, but are not limited to,
representations concerning Borrower' s occupancy of the Property as Borrower' s principal residence

9. Protection of Lender's lnterest in the Property and Rights Ulder this Security instrument If (a)
Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal
proceeding that might significantly affect Lender' s interest in the Property and/or rights under this Security Instrument
(such as a procwdin_g in bankruptcy, probate, for condemnation or forfeiture, for enforcement of alien which may
attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the

 

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Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the
Property and rights under this Security lnstrument, including protecting and/or assessing the value of the Property,
and securing and/or repairing the Property. Lender' s actions can include, but are not limited to: (a) paying any sums
seemed by a lien which has priority over this Security lnstrument; (b} appearing in court; and (c) paying reasonable
attorneys' fees to protect its interest in the Property and/or rights under this Security lnstrument; including its secured
position in a bankruptcy proceeding Securing the Property included but is not limited to, entering the Property to
make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate building or
other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action
under this Section 9, Lender\does not have to do so and is not under any duty or obligation to do so. lt isagreed that
Lender incurs no liability for not taking any or all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section-9 shall become additional debt ofBorrower secured by this
Security lnstrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable, with such interest, upon notice from Lender to Borrower requesting payment

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease.
Borrower shall not surrender the leasehold estate and interests herein conveyed or terminate or cancel the ground Iease.
Borrower shall not, without the express written consent of Lender, alter or amend the ground lease. lf Borrower
acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the merger
in writing

10. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to
and shall be paid to Lender.

lf the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property,
if the restoration or repair is economically feasible and Lender' s security is not lessened. During such repair and
restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an
opportunity to inspect such Property to ensure the work has been completed to Lender' s satisfaction, provided that
such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement
or in a series of progress payments as the work is completed Unless an agreement is made in writing or Applicable
Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or
Lender' s security would be lessened, the Miscellaneous Proceeds shall be applied to the sums seemed by this Security
Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall
be applied in the order provided for in Section 2.

ln the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security lnstrument, whether or not then due, with the excess, if any, paid to
Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount
of the sums seemed by this Security Instrument immediately before the partial taking, destruction, or loss in value,
unless Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced
by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums
secured immediater before the partial taking, destruction, or loss in value divided by (b) the fair market value of the
Property immediately before the partial taking, destruction, or loss in value, Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums
secured immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise

 

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agreein‘writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether
or not the sums are then due.

If the Property is abandoned by Borrower, or if:l alter notice by Lender to Borrower that the Opposing Party (as
defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to
Lender within 30 days alter the date the notice is given, Lender is authorized to collect and apply the Miscellaneous
Proceeds either to restoration or repair of the Property or to the sums secured by this Security lnstrument, whether
or not then due. "Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party
against whom Borrower has a right of action in regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender' s
judgment, could result in forfeiture of the Property or other material impairment of Lender' s interest in the Property
or rights under this Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate
as provided in Section 18, by causing the action or proceeding to be dismissed with a ruling that, in Lender's
judgment, precludes forfeiture of the Property or other material impairment of Lender' s interest in the Property or
rights under this Security Instrument. The proceeds of any award or claim for damages that are attributable to the
impairment of Lender' s interest in the Property are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the
order provided for in Section 2.

ll. Borrower Not Re|eased; Forbearance By Lender Not a Waiver. Extension of the‘time for payment or
modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
Successor in lnterest of Borrower shall not operate to release the liability of Borrower or any Successors in lnterest
of Borrower. Lender shall not be required to commence proceedings against any Successor in lnterest ofBorrower
or to refuse to extend time for payment or otherwise modify amortization of the sums secured by this Security
Instrument by reason of any demand made by the original Borrower or any Successors in lnterest of Borrower. Any
forbearance by Lender in exercising any right or remedy including, without limitation, Lender' s acceptance of
payments from third persons, entities or Successors in lnterest of Borrower or in amounts less than the amount then
due, shall not be a waiver of or preclude the exercise of any right or remedy.

12. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees
that Borrower' s obligations and liability shall bejoint and several. However, any Borrower who co-signs this Security
Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this Security Instrument only to mortgage,
grant and convey the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not
personally obligated to pay the sums secured by this Security lnstrument; and (c) agrees that Lender and any other
Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this Security
lnstrument or the Note without the co-signer' s consent

Subject to the provisions of Section 17, any Successor in lnterest of Borrower who assumes Borrower' s
obligations under this Security lnstrument in writing, and is approved by Lender, shall obtain all of Borrower' s rights
and benefits under this Security Instrument. Borrower shall not be released from Borrower' s obligations and liability
under this Security lnstrument unless Lender agrees to such release in writing The covenants and agreements of this
Security instrument shall bind (except as provided in Section 19) and benefit the successors and assigns cf Lender.

13. Loan Chargcs. Lender may charge Borrower fees for services performed in connection with Borrower' s
default, for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument,
including, but not limited to, attorneys' fees, property inspection and valuation fees. ln regard to any other fees, the
absence of